                                      United States Bankruptcy Court
                                      Northern District of Alabama
In re:                                                                                  Case No. 17-81529-CRJ
Albert Delong                                                                           Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 1126-8           User: admin                  Page 1 of 2                   Date Rcvd: Jul 15, 2020
                               Form ID: 309A                Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 17, 2020.
db             +Albert Delong,    3212 E. Willow Street,    Scottsboro, AL 35768-4150
tr             +Judith Thompson,    P.O. Box 18966,    Huntsville, AL 35804-8966
9383418         First Premier Bank,    601 S Minneaplois Ave,    Dious FDalls, SD 57104
9404763        +H&R Block Bank,    c/o Creditors Bankruptcy Service,    P.O. Box 800849,   Dallas, TX 75380-0849
10483141       +Highland Medical Center,    380 Woods Cove Rd.,    Scottsboro, AL 35768-2428
9383420        +Reflex,   PO Box 8099,    Newark, DE 19714-8099
9383423        +Scottsboro Urgent Care,    PO Box 730,    Scottsboro, AL 35768-0730
9383425        +Sun Loan Company,    201 Veterans Dr Ste 105,    Scottsboro, AL 35768-2168
9383411        +Ultimate Auto,    3205 S Broad St.,    Scottsboro, AL 35769-7514
9421735        +Ultimate Auto Sales,    William Tally, Claims Signatory,    P.O. Box 1067,
                 Scottsboro, AL 35768-1067

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: john@jlarsenlaw.com Jul 16 2020 05:19:39        John C. Larsen,    Larsen Law, P.C.,
                 1733 Winchester Rd,    Huntsville, AL 35811
smg            +E-mail/Text: bnc_notices_northern@alnba.uscourts.gov Jul 16 2020 05:21:57         Richard Blythe,
                 BA Decatur,    P O Box 3045,   Decatur, AL 35602-3045
9383413        +E-mail/Text: bk@creditcentralllc.com Jul 16 2020 05:23:03        Credit Central,
                 145 East Laurel St,    Scottsboro, AL 35768-1801
9469783        +E-mail/Text: bk@creditcentralllc.com Jul 16 2020 05:23:03        Credit Central LLC,
                 700 E North St Ste 15,    Greenville, SC 29601-3013
9383414        +EDI: CCS.COM Jul 16 2020 08:03:00      Credit Collections Svc,     Po Box 773,
                 Needham, MA 02494-0918
9383415        +E-mail/PDF: creditonebknotifications@resurgent.com Jul 16 2020 05:28:28         Credit One Bank Na,
                 Po Box 98873,    Las Vegas, NV 89193-8873
9383416        +E-mail/Text: dleabankruptcy@hrblock.com Jul 16 2020 05:20:14        Emerald Financial Services,
                 PO Box 30040,    Tampa, FL 33630-3040
9383417        +EDI: BLUESTEM Jul 16 2020 08:03:00       Fingerhut,   6250 Ridgewood Rd,
                 St Cloud, MN 56303-0820
9603972         EDI: JEFFERSONCAP.COM Jul 16 2020 08:03:00       JEFFERSON CAPITAL SYSTEMS LLC,     PO Box 7999,
                 St Cloud MN 56302
9424719         E-mail/PDF: resurgentbknotifications@resurgent.com Jul 16 2020 05:29:55
                 LVNV Funding, LLC its successors and assigns as,     assignee of FNBM, LLC,
                 Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
9383419        +E-mail/Text: netcreditbnc@enova.com Jul 16 2020 05:23:13        Net Credit Financial,
                 Po Box 645295,    Cincinnati, OH 45264-5295
9483555        +EDI: JEFFERSONCAP.COM Jul 16 2020 08:03:00       Premier Bankcard, Llc,
                 Jefferson Capital Systems LLC Assignee,     Po Box 7999,    Saint Cloud Mn 56302-7999
9482102         EDI: Q3G.COM Jul 16 2020 08:03:00      Quantum3 Group LLC as agent for,      Sadino Funding LLC,
                 PO Box 788,    Kirkland, WA 98083-0788
9391731        +E-mail/Text: bankruptcy@regionalmanagement.com Jul 16 2020 05:20:35
                 REGIONAL MANAGEMENT CORPORATION,    979 BATESVILLE ROAD, SUITE B,     GREER, SC 29651-6819
9383422         E-mail/Text: bankruptcy@republicfinance.com Jul 16 2020 05:23:22        Republic Finance,
                 282 Tower Rd.,    Ponchatoula, LA 70454
9383421        +E-mail/Text: bankruptcy@regionalmanagement.com Jul 16 2020 05:20:35        Regional Finance,
                 1605 S Broad St.,    Scottsboro, AL 35768-2610
9430291        +E-mail/Text: bankruptcy@regionalmanagement.com Jul 16 2020 05:20:35
                 Regional Management Corporation,    Shannon E. Henry, Claims Signatory,
                 979 Batesville Road Suite B,    Greer, SC 29651-6819
9374234        +EDI: SECFIN.COM Jul 16 2020 08:03:00       SFC Central Bankruptcy,    PO Box 1893,
                 Spartanburg, SC 29304-1893
9383424        +EDI: SECFIN.COM Jul 16 2020 08:03:00       Security Finance,    Sfc Centralized Bankruptcy,
                 Po Box 1893,    Spartanburg, SC 29304-1893
                                                                                                TOTAL: 19

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*           ++JEFFERSON CAPITAL SYSTEMS LLC,   PO BOX 7999,   SAINT CLOUD MN 56302-7999
               (address filed with court: Jefferson Capital Systems LLC,    PO Box 7999,
                 St Cloud, MN 56302-9617)
cr*           ++REPUBLIC FINANCE LLC,   282 TOWER RD,   PONCHATOULA LA 70454-8318
               (address filed with court: Republic Finance, LLC,    282 Tower Rd.,   Ponchatoula, LA 70454)
9383412      ##+Continental Finance Co,   Cfc,   121 Continental Dr #108,   Newark, DE 19713-4326
                                                                                            TOTALS: 0, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




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District/off: 1126-8                  User: admin                        Page 2 of 2                          Date Rcvd: Jul 15, 2020
                                      Form ID: 309A                      Total Noticed: 29


              ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 17, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 15, 2020 at the address(es) listed below:
              John C. Larsen   on behalf of Debtor Albert Delong john@jlarsenlaw.com,
               lori@jlarsenlaw.com;larsenjr86417@notify.bestcase.com
              Judith Thompson    judith@al-bk.com, AL03@ecfcbis.com
              Michele T. Hatcher   ecf@ch13decatur.com, michele.hatcher@ch13decatur.com
                                                                                            TOTAL: 3




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Information to identify the case:
Debtor 1              Albert Delong                                                     Social Security number or ITIN        xxx−xx−3550
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
UNITED STATES BANKRUPTCY COURT                           NORTHERN DISTRICT OF           Date case filed in chapter 13               5/17/17
ALABAMA, NORTHERN DIVISION
                                                                                        Date case converted to chapter 7           7/14/20
Case number:          17−81529−CRJ7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Albert Delong

2.      All other names used in the
        last 8 years

3.     Address                               3212 E. Willow Street
                                             Scottsboro, AL 35768

4.     Debtor's attorney                     John C. Larsen                                         Contact phone 256 859−3008
                                             Larsen Law, P.C.
       Name and address                      1733 Winchester Rd                                     Email: john@jlarsenlaw.com
                                             Huntsville, AL 35811

5.     Bankruptcy trustee                    Judith Thompson                                        Contact phone 256 880−2217
                                             P.O. Box 18966
       Name and address                      Huntsville, AL 35804
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Albert Delong                                                                                              Case number 17−81529−CRJ7


6. Bankruptcy clerk's office                    400 Well Street                                              Hours open:
                                                P. O. Box 2775
    Documents in this case may be filed at this Decatur, AL 35602                                            8:00 a.m. − 4:00 p.m.
    address. You may inspect all records filed                                                               Monday−Friday
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Contact phone 256−584−7900

                                                                                                             Date: 7/15/20

7. Meeting of creditors                          August 28, 2020 at 09:00 AM                                 Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Madison County Courthouse, 6th
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Floor, Room 616, 100 Northside
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Square, Huntsville, AL 35801


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 10/27/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2




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